UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

JASPER FERGUSON,
Petitioner,
V.
ALEX VILLANUEVA,

Respondent.

 

 

WESTERN DIVISION

Case No. CV 20-02583-PSG (DFM)

Order Accepting Report and
Recommendation of United States
Magistrate Judge

Under 28 U.S.C. § 636, the Court has reviewed the Petition, the other

records on file herein, and the Report and Recommendation of the United

States Magistrate Judge. Further, the Court has engaged in a de novo review of

those portions of the Report and Recommendation to which objections have

been made. The Court accepts the report, findings, and recommendations of

the Magistrate Judge.

IT IS THEREFORE ORDERED that Judgment be entered dismissing

the Petition without prejudice.

Date: 4 /r0 Jap uw)

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PHILIP S. GUTIERREZ
Chief United States District Judge
